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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                  )
 UNITED STATES OF AMERICA                         )
                                                  )
                    v.                            )        Criminal No. 17-201 (ABJ)
                                                  )
 PAUL J. MANAFORT, JR.,                           )
                                                  )
                         Defendant.               )
                                                  )

      DEFENDANT PAUL J. MANAFORT JR.’S RESPONSE TO THE SPECIAL
    COUNSEL’S SUBMISSION IN SUPPORT OF ITS BREACH DETERMINATION

       Defendant Paul J. Manafort, Jr., by and through counsel, respectfully submits this response

to the Office of Special Counsel’s submission in support of its determination that Mr. Manafort

breached the plea agreement in this case. (Doc. 460).

       A. Introduction

       Over the course of twelve meetings with Government attorneys and agents, Mr. Manafort

spent numerous hours answering questions. During these interview sessions, Mr. Manafort

provided complete and truthful information to the best of his ability. He attempted to live up to

the requirements of his cooperation agreement and provided meaningful cooperation relating to

several key areas under current government investigation. He also cooperated by providing the

government with access to his electronic devices, email accounts, and related passwords. Finally,

he continues to cooperate in an effort to ensure the orderly forfeiture of his assets.

       Rather than emphasizing Mr. Manafort’s substantial and meaningful performance, the

Office of Special Counsel (“OSC”) claims that he has breached his agreement and provided

intentionally false information related to five subjects addressed further below. Despite Mr.

Manafort’s position that he has not made intentional misstatements, he is not requesting a hearing
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on the breach issue. As discussed further below – given the highly deferential standard that applies

to the Government’s determination of a breach and the Government’s stated intention to limit the

effect of the breach determination to its advocacy at sentencing in this case1 – Mr. Manafort

suggests that any necessary factual determinations are better addressed as part of the presentencing

report (“PSR”) process. Should material factual issues remain in dispute at that point, the parties

can request a hearing to address those issues.

        B. The Plea Agreement and the Breach Standard

        The plea agreement between the parties sets forth the standard governing a determination

of whether the defendant has breached the agreement. See Plea Agreement at 14 (Doc. 422). It

states that the determination of whether there has been a breach by the defendant shall “be judged

by the Government in its sole discretion” subject to a showing that the OSC made its determination

in “good faith.” Id. Stated alternatively, practically speaking, given a set of facts that arguably

support a breach determination, even if subject to another more benign interpretation, it is

incumbent upon the defendant to show that the prosecution somehow acted in bad faith in

declaring a breach of the agreement based on those facts.

        In the instant case, given the language of the plea agreement, it is the defendant’s position

that a hearing on the specific issue of whether the OSC made its determination regarding the

purported breach in “good faith” is not required. Parties can, and regularly do, disagree upon their

interpretation of the facts and they do so without accusing the other side of improper motivations.




1
 Based upon discussions occurring after the November 30 and December 11 hearings, the OSC has advised
that the only remedies it currently plans to seek related to the alleged breach relate to its position regarding
sentencing in this matter. Should the Government seek to bring additional charges or take any other adverse
action beyond its sentencing position, the defendant reserves his right to challenge the Government’s breach
determination at that time.
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       But for sentencing purposes, the matter does not end here. To the extent the facts

underlying these issues must be determined in connection with the sentencing, defendant suggests

the decision of whether to hold a hearing should be made after the presentence report has been

prepared. Waiting until after the presentence report is complete will allow the parties to determine

those factual issues, if any, that remain in dispute and that cannot be resolved without a hearing

and to narrow any hearing as to those issues.

       As its basis for claiming a breach of the plea agreement, the Government has generally

identified purported misrepresentations relating to five areas of inquiry. (Doc. 460 at 4-9). The

OSC opines that the defendant has intentionally misrepresented facts in response to their questions.

The defense contests the Government’s conclusion and contends that any alleged misstatements,

to the extent they occurred at all, were not intentional.

       C. Background

       On June 15, 2018, the Court remanded Mr. Manafort into custody where he has remained

confined in jail since that time. During September and October 2018, he met with attorneys and

investigators from the Government on a dozen occasions and has testified twice before the grand

jury. On this point, there is no disagreement between the parties. (See Doc. 460 at 2-3). During

the period he has been cooperating with the OSC, Mr. Manafort has been in solitary confinement

away from the facility’s general population to ensure his safety. While his physical safety is of

primary concern, it is important to note that the conditions of Mr. Manafort’s confinement have

taken a toll on his physical and mental health. As just one example, for several months Mr.

Manafort has suffered from severe gout, at times confining him to a wheelchair. He also suffers

from depression and anxiety and, due to the facility’s visitation regulations, has had very little

contact with his family. Mr. Manafort has only traveled outside of the facility to meet with the



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OSC’s attorneys and investigators and, on limited occasion, to appear in court. On those occasions

he has met with the OSC, he was awoken before dawn, transported to the Special Counsel’s offices

in Washington, and interviewed for many hours (usually the entire day). These circumstances

weighed heavily on Mr. Manafort’s state of mind and on his memory as he was questioned at

length. In addition, Mr. Manafort commenced his cooperative efforts just days prior to entering

into the plea agreement in this case and resumed those efforts the very day after his plea hearing –

thus, he was afforded little opportunity to prepare for his meetings with the government’s attorneys

and investigators. Many of the questions put to Mr. Manafort during the proffer meetings were

broad in scope and, more often than not, documentary materials relevant to the areas of inquiry

were not provided to him in advance. Because materials were not provided for his review in jail

the night before interview sessions, Mr. Manafort often did not have the opportunity to refresh his

recollection of events and conversations that occurred many years ago.2

         Indeed, it is fair to say that mistakes and failed recollections are common to most proffer

meetings between the Government and cooperating witnesses. As noted, the OSC generally

identifies purported lies relating to five areas of inquiry and opines that the defendant intentionally

misrepresented facts in response to their questions. Notably, there is no identifiable pattern to Mr.

Manafort’s purported misrepresentations – no specific individual or potential crime is identified

in the Government’s submission. Mr. Manafort addresses the Government’s specific allegations

below.




2
 Of course, nothing requires prosecutors to provide materials in advance of their questioning; nevertheless,
in a situation where a defendant has pled guilty and agreed to cooperate with authorities, the failure to do
so can be counterproductive.
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       D. The Areas Identified by the Government

           1. Mr. Manafort’s Interactions with Konstantin Kilimnik

       It is accurate that after the Special Counsel shared evidence regarding Mr. Manafort’s

meetings and communications with Konstantin Kilimnik with him, Mr. Manafort recalled that he

had – or may have had – some additional meetings or communications with Mr. Kilimnik that he

had not initially remembered. The Government concludes from this that Mr. Manafort’s initial

responses to inquiries about his meetings and interactions with Mr. Kilimnik were lies to the OSC

attorneys and investigators.




       It is not uncommon, however, for a witness to have only a vague recollection about events

that occurred years prior and then to recall additional details about those events when his or her

recollection is refreshed with relevant documents or additional information. Similarly, cooperating

witnesses often fail to have complete and accurate recall of detailed facts regarding specific

meetings, email communications, travel itineraries, and other events. Such a failure is unsurprising

here, where these occurrences happened during a period when Mr. Manafort was managing a U.S.

presidential campaign and had countless meetings, email communications, and other interactions

with many different individuals, and traveled frequently.




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                                                                                         The simple

fact that Mr. Manafort could not recall, or incorrectly recalled, specific events from his past

dealings with Mr. Kilimnik – but often (after being shown or told about relevant documents or

other evidence) corrected himself or clarified his responses – does not support a determination that

he intentionally lied.

            2. Mr. Kilimnik’s Role in the Obstruction Conspiracy

        The parties agree that Mr. Manafort pleaded guilty to Count Two of the superseding

information, which charged him and Mr. Kilimnik with conspiracy to obstruct justice by

attempting to contact two potential government witnesses. (See Doc. 460 at 6). However, the

Government’s characterization that, after he pleaded guilty, Mr. Manafort denied that Mr.

Kilimnik participated in the conspiracy is disputed. During a proffer session with the OSC on

October 16, 2018, Mr. Manafort acknowledged that he and Mr. Kilimnik agreed to reach out to

the witnesses. Mr. Manafort was asked to agree that Mr. Kilimnik, too, possessed the requisite

state of mind to legally establish his guilt. Mr. Manafort balked at this characterization, because

he did not believe he could confirm what another person’s internal thoughts or understandings

were, i.e., another individual’s state of mind. Mr. Manafort did not intentionally lie and he did not

back away from his own guilty plea to Count Two. In fact, he acknowledged his understanding of

Mr. Kilimnik’s role in the offense; that is, that he and Mr. Kilimnik agreed with each other to try




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to contact witnesses so that the witnesses’ views of the facts would be closely aligned with Mr.

Manafort’s anticipated defense at trial.

           3. Payment to a Firm Working for Mr. Manafort

       The Government alleges that Mr. Manafort made “several inconsistent statements” in

response to questions about a $125,000 payment made on Mr. Manafort’s behalf in 2017. (Doc.

460 at 7). From the outset, the discussion of this topic with Mr. Manafort was the subject of

confusion. For example, when the Government first raised this topic, Mr. Manafort was asked

about a much larger payment to the firm on his behalf. Mr. Manafort said he thought it was a

smaller amount and had no recollection of a payment in the amount described by the Government.

After a break, it became clear that the government’s facts were incorrect – it was a $125,000

payment.

       Mr. Manafort initially explained that he approached the head of Entity B, who owed him

money, seeking help in paying his debt. After further discussion, Mr. Manafort acknowledged that

the head of Entity B had the head of Firm A pay the amount for Mr. Manafort. Despite the

confusion, at bottom it appears that the Government’s evidence corroborates Mr. Manafort’s

testimony that the head of Firm A paid the money at the head of Entity B’s request from money

the head of Firm A owed to the head of Entity B.

       In a subsequent meeting, Mr. Manafort explained that it was unclear to him how this

payment was recorded by his accountants and he believed the original plan was to report the

payment as a loan, but that it had actually been reported as income on his 2017 tax return.




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           4. Mr. Manafort’s Statements Regarding Another DOJ Investigation

       The OSC alleges that Mr. Manafort provided the government with information pertinent to

an investigation in another district prior to entering into the plea agreement in this case but then,

in post-plea proffer meetings with other prosecutors not associated with the OSC, provided a

different version of the same events. (See Doc. 460 at 8). As the Special Counsel acknowledges

however, during the second proffer meeting Mr. Manafort’s counsel refreshed his recollection with

notes from the prior proffer meeting, which led Mr. Manafort to correct his statements to the non-

OSC government’s attorneys and investigators. Moreover, the characterization of Mr. Manafort’s

statement as “exculpatory” ignores the fact that the underlying conduct at issue did not involve

any potential crime known to him.        Even if viewed as inconsistent statements, they were

nevertheless corrected during the course of the same proffer meeting and do not support a

conclusion that he lied.

           5. Contacts with the Administration

       Lastly, the OSC alleges that Mr. Manafort stated that he had no contact with members of

the Administration and did not ask others to communicate with members of the Administration on

his behalf. (See Doc. 460 at 8). Mr. Manafort was briefly asked several questions related to

contacts with the Administration and explained that, although he knew many individuals who had

been appointed to positions within the Administration, he did not believe that he had any direct or

indirect communications with any of them during the time that those individuals actually served

in the Administration. Mr. Manafort was asked specifically about communications with two

Administration officials but did not recall having a conversation with either individual or reaching



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out to either individual during the period they worked in the Administration. In its submission,

the OSC cites two examples, first, where Mr. Manafort appears to have authorized a third-party to

speak to someone in the Administration and, second, where a witness appears to have told the OSC

that Mr. Manafort stated to the witness that that he had contact with another Administration

official. The Special Counsel has also provided defense counsel with additional examples that

appear to reflect several additional (mostly indirect) contacts with individuals during periods they

worked in the Administration.

       There is no support for the proposition that Mr. Manafort intentionally lied to the

Government.




                                                      Prior to and during his proffer meetings, Mr.

Manafort was well aware that the Special Counsel’s attorneys and investigators had scrutinized all

of his electronic communications. Indeed, it is important to note that Mr. Manafort voluntarily

produced numerous electronic devices and passwords at the request of the Government.

                                                ***

       Since he signed the plea agreement with the OSC, Mr. Manafort has met with the

government’s attorneys and investigators a dozen times and he has testified before a grand jury on

two occasions. While a hearing regarding the Government’s “good faith” in declaring a breach of

the plea agreement is not necessary, to the extent that there are witness statements that the OSC



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contends demonstrate Mr. Manafort’s intentional falsehoods, these should be produced to the

defense. After having an opportunity to review such statements and any other documentary

evidence, the defendant would then suggest that the issues be narrowed during the usual sentencing

process in the parties’ submissions to the U.S. Probation Office in the preparation of the PSR.

Where factual issues remain after the standard process, a hearing may be necessary prior to the

actual sentencing of the defendant to resolve those disputes.



Dated: January 7, 2019                               Respectfully submitted,


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